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    8
    9                          UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11 Y.Y.G.M. SA d.b.a. BRANDY                      Case No. 2:19-cv-04618-RGK (JPRx)
      MELVILLE, a Swiss corporation,                 Judge: Hon. R. Gary Klausner
   12
                   Plaintiff,
   13                                                PLAINTIFF Y.Y.G.M. SA D.B.A.
            vs.                                      BRANDY MELVILLE’S
   14                                                OPPOSITION TO DEFENDANT
      REDBUBBLE, INC., a Delaware                    REDBUBBLE, INC.’S MOTION
   15 corporation,                                   FOR SUMMARY JUDGMENT
   16                Defendant.                      Date:       June 1, 2020
                                                     Time:       9:00 a.m.
   17                                                Crtrm.:     850
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                                                     Pre-Trial Conference:       June 15, 2020
   19                                                Trial Date:                 June 30, 2020
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   23               DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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    1 I.            INTRODUCTION
    2               As originally conceived during the early days of the Internet, online
    3 marketplaces were the matchmakers for sellers of used products with potential buyers
    4 across the world. In other words, if a man in Los Angeles wanted to sell his old 1988
    5 Dodgers World Series Champs T-shirt, the Angeleno was no longer limited to finding
    6 potential buyers at his garage sale or via an ad in a local newspaper. Instead, the
    7 Angeleno seller could connect with a Dodger faithful as close as Orange County and
    8 as far away as Timbuktu. And to help connect the right buyers with the right sellers,
    9 these online marketplaces used search engine optimization techniques to ensure that
   10 a buyer looking for Dodgers gear was directed to Dodgers products rather than having
   11 to wade through, for example, lawn mowers or camping tents.
   12               Defendant Redbubble has a far different business model, as the evidence in this
   13 case, including myriad documents and deposition testimony from Redbubble itself,
   14 makes obvious. First off, unlike the original eBay and Amazon marketplace models,1
   15 Redbubble does not advertise, offer for sale, or sell any used products. Rather, every
   16 design offered for sale on the Redbubble website is newly created. In other words,
   17 unless Redbubble obtains a license, if there is a T-shirt with the Los Angeles Dodgers
   18 logo on the Redbubble website, there is no question whether the product is a used
   19 authentic product or a counterfeit; it is a counterfeit. Therefore, when Redbubble
   20 optimizes its search engine (and third-party search engines like Google) to direct
   21 persons looking for a “Brandy Melville T-shirt” to a catalogue of Brandy Melville
   22 designs (including those with the Brandy Melville name and logo) on the Redbubble
   23 website, Redbubble is not connecting a seller with a buyer interested in an authentic,
   24 used Brandy Melville T-shirt. Rather, Redbubble is counterfeiting.
   25
        1
         We intentionally specify the “original” eBay and Amazon marketplace models
   26
      because the models of those websites has evolved, for example with Amazon in
   27 particular now distributing and selling its own products with appropriate licenses to
      do so to the extent such distributions and sales implicate the intellectual property of
   28
      others.
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    1               Second, in the original eBay and Amazon marketplace models, no “eBay” or
    2 “Amazon” products were being sold. In contrast, the record shows that consumers on
    3 the Redbubble website are looking for and purchasing “Redbubble products.” And if
    4 the buyer has a question about the product, he contacts Redbubble. And when the
    5 buyer is wondering where his product is, he contacts Redbubble. And when the buyer
    6 receives the product, the product is wrapped in Redbubble packaging with a
    7 Redbubble tag. And if the buyer does not like the product, he returns it to Redbubble.
    8 And when Redbubble receives money from the buyer, Redbubble (i.e., the seller) pays
    9 sales tax. It would come as quite a shock for anyone who has purchased a product
   10 from Redbubble to hear Redbubble claims it has nothing to do with that process at all.
   11               The jig is up. Redbubble can no longer, out of one side of its mouth, cast itself
   12 as a “passive intermediary”—among other things, blaming its software for
   13 “automatically” performing just as Redbubble programmed it to perform—for
   14 purposes of avoiding liability for trademark infringement while, out of the other side
   15 of its mouth, disclosing to its investors and governmental authorities that (a) it is “the
   16 principal in the sale” of its products, (b) the manufacturers of its products are its
   17 “agent[s],” and (c) it paid taxes in California because that is the location of the seller
   18 (i.e., itself).       (SUF2 ¶¶ 114-118.)      Redbubble sold counterfeit Brandy Melville
   19 products as a matter of law. At the very least, there are issues of fact as to Redbubble’s
   20 soliciting the design of, manufacturing, advertising, offering for sale, and selling the
   21 Brandy Melville counterfeits. Redbubble’s Motion should be denied.
   22 II.           STATEMENT OF FACTS
   23               A.    Brandy Melville and Its Trademarks
   24               As detailed in its pending motion for partial summary judgment and
   25
   26
        Brandy Melville’s Response to Redbubble’s Statement of Uncontroverted Facts is
        2

   27 the “SDF,” and Brandy Melville’s Additional Uncontroverted Facts therein—
      including the facts it incorporates by reference from its Statement of Uncontroverted
   28
      Facts (Dkt. No. 36-1)—is the “SUF.”
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    1 accompanying separate statement (Dkt. Nos. 36, 36-1), Brandy Melville is a popular
    2 fashion and lifestyle brand that has been known in the minds of the consuming public
    3 for selling high-quality, unique, and trendy clothing. (SUF ¶¶ 1, 6, 11-13.) Brandy
    4 Melville owns several registered trademarks, including the distinctive “Brandy
    5 Melville Mark,” “LA Lighting Mark,” and “Brandy Flag Mark.”3 (Id. ¶ 24-28; SDF
    6 ¶ 53.) The Brandy Melville Mark bears the Registration No. 5,238,856:
    7
    8
    9 (Id. ¶¶ 24, 25.)         The LA Lightning Mark (below left) bears the Registration
   10 No. 5,748,883, and the Brandy Flag Mark (below right) Registration No. 5,373,397:
   11
   12
   13 (Id. ¶¶ 26-30, 203; SDF ¶ 53.) Brandy Melville also owns several unregistered
   14 trademarks for its name and graphic logos. (SDF ¶ 56; SUF ¶ 204.) Brandy Melville
   15 sells its goods online and in retail locations nationwide. (SUF ¶ 6.)
   16               B.   Redbubble and Its Infringement of Brandy Melville’s Trademarks
   17               Redbubble owns and operates a website (www.redbubble.com) that solicits
   18 users to upload designs—often, as here, counterfeits—that Redbubble then emblazons
   19 on products for customers to purchase. (SUF ¶¶ 36-38, 201.) All Redbubble sales
   20 are made on its website. (Id. ¶¶ 39-40, 52.) Redbubble does not sell used products
   21 and its products are created after a customer makes a purchase on the Redbubble
   22 website. (Id. ¶ 205; SDF ¶ 11.) As one Australian court concluded, Redbubble’s
   23 infringement-dependent business model “controls every step of the transactional
   24 engagement between [a user] and a buyer.” (SUF ¶ 130 (emphasis added).)
   25               Solicitation. Redbubble solicits infringing designs from users (sometimes
   26
   27   Neither the Brandy Flag Mark nor Brandy Melville’s unregistered trademarks are
        3

      the subject of Brandy Melville’s pending partial summary judgment motion, but the
   28
      evidence that will be adduced at trial will show that Redbubble has infringed them.
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     1 III.          ARGUMENT
     2               Redbubble’s Motion must be denied in its entirety. Redbubble is Redbubble:
     3 it is not Amazon, or eBay, or a “global online marketplace platform.” (Cf. Mot. at 1.)
     4 It is a counterfeiter that, on this record, is liable for direct infringement. Its disclosures
     5 also concede it is liable for contributory and vicarious infringement. And the state
     6 law claim is not immunized by the CDA because, inter alia, Redbubble sells
     7 infringing goods.
     8               A.    Redbubble Cannot Escape Liability or Statutory Damages for Its
     9                     Counterfeiting and Direct Infringement.
    10               Claiming that the Court should accept its implausible self-characterization as
    11 just another “eBay” or “Amazon Marketplace,” the Motion raises only one issue with
    12 respect to the direct trademark infringement claim: Redbubble’s “use” of Brandy
    13 Melville’s trademarks. (Mot. at 9; see also id. at 10-13.) This argument fails. 5
    14                     1.    The Motion Fails Because Redbubble Counterfeits Brandy
    15                           Melville Products.
    16               According to the Motion, Redbubble’s conclusion—that it did not “use Brandy
    17 Melville’s trademarks”—only follows if specific “principles” are applied. (Mot. at
    18 11 (“[a]pplying these principles here”).) These “principles” include Brandy Melville
    19 satisfying a new, unprecedented requirement for a trademark infringement claim:
    20 “volitional conduct” causation. Putting aside that Redbubble’s conclusion has not
    21 been applied in the trademark context, such a requirement simply cannot apply
    22 where—as here—Redbubble itself “uses” Brandy Melville’s trademarks at every step
    23 of the commercial transaction and thus engages in counterfeiting.
    24               The Motion concedes Redbubble’s new, proposed requirement comes from
    25
         5
    26   Redbubble does not dispute the other elements of this claim (e.g., Brandy Melville
       owns protectable trademarks and there is a likelihood of confusion). See Phillip
    27 Morris USA Inc. v. Shalabi, 352 F. Supp. 2d 1067, 1072-73 (C.D. Cal. 2004)
    28 (identifying elements of trademark infringement claim) (collecting cases).
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     1 “copyright infringement opinions.”6 (Mot. at 11.) Redbubble points to no authority—
     2 let alone from the Ninth Circuit—applying such requirement to trademark claims.
     3 (Mot. at 11 (citing Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657 (9th Cir. 2017)).)7
     4 This is unsurprising, as trademark infringement claims have no such element.
     5               And even if such a requirement could be read into the law, it is satisfied here:
     6 the record confirms that Redbubble’s claim to be a passive “transactional
     7 intermediary” or non-”volitional” “online marketplace[ ]” (Mot. at 12-13) is baseless.
     8 Redbubble is far more. Even though “the website users actually craft the designs that
     9 incorporate the [trademarks],” see H-D U.S.A., LLC v. SunFrog, LLC, 311 F. Supp.
    10 3d 1000, 1030 (E.D. Wis. 2018), it is Redbubble that: vigorously advertises, offers
    11 for sale, and sells goods bearing the marks on its website; advertises the goods on
    12 third-party websites; has a principal-agent relationship with the fulfillers that create
    13 the products to Redbubble’s quality standards; decides who fulfills the order and
    14 provides them with the order information; dictates the product’s base cost, charges a
    15 service fee, and decides when the user gets paid; is the customer’s point of contact for
    16 the sale, including for cancellations, refunds, and returns; and arranges for the order
    17 to be shipped to the customer with Redbubble-themed packaging and tags. (E.g., SUF
    18 ¶¶ 36-95, 102-197, 201-202; SDF ¶ 16.) But for Redbubble, there is no product and
    19 none of this occurs. (Cf. Mot. at 13 (citing GMA Accessories, Inc. v. BOP, LLC, 765
    20 F. Supp. 2d 457 (S.D.N.Y. 2011); Tre Milano, LLC v. Amazon.com, Inc.,
    21 No. B234753, 2012 WL 3594380 (Cal. Ct. App. 2012)).)8
    22
    23   6
           Whether this requirement even applies to copyright claims is in question. See Am.
    24   Broad. Cos., Inc. v. Aereo, Inc., 573 U.S. 431, 456 (2014) (Scalia, J., dissenting).
         7
             Despite being rooted in different statutes, Redbubble argues trademark and
    25   copyright infringement claims should have the same elements because they are both
    26   “tort” claims. (Mot. at 11.) Per this logic, a trademark infringement plaintiff should
         also be required to prove Redbubble touched Plaintiff “with the intent to harm or
    27   offend plaintiff.” So v. Shin, 212 Cal. App. 4th 652, 669 (2013) (tort of battery).
         8
    28     The remaining cases cited in the Motion are inapposite. (Mot. at 12.) eBay was not

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     1               These same facts also demonstrate that Redbubble is not an intermediary
     2 because it gives the customer every impression that the infringing product comes from
     3 Redbubble. Johnson & Johnson & Lifescan, Inc. v. S. Pointe Wholesale, Inc., No. 08-
     4 cv-1297, 2014 WL 12558573, at *19 (E.D.N.Y. Apr. 4, 2014) (defendant was not a
     5 “transactional intermediary” where customers “had no knowledge about the source of
     6 the [infringing products] other than that they were acquired from [defendant]”);
     7 SunFrog, 311 F. Supp. 3d at 1030 (defendant was “actively involved in the infringing
     8 conduct”). Redbubble’s website states that individual designs were “Designed by”
     9 users, not “Sold by” them.            (SUF ¶ 206.)    Furthermore, as the moving party,
    10 Redbubble is obligated to—but has not—put forward evidence of what an
    11 “analogous” intermediary (e.g., Amazon) does and how it is like or unlike Redbubble.
    12 In fact, Redbubble’s own expert averred that Amazon and other “large marketplaces”
    13 are “in very different businesses than Redbubble.” (SUF ¶ 213.)
    14               Redbubble cannot sidestep its “use” by blaming or distancing itself from its
    15 partners. “It is no defense to trademark infringement that someone else made the
    16 product that bears the infringing mark.” SunL Grp. (L.A.), Inc. v. Seaseng, Inc.,
    17 No. 07-cv-807, 2007 WL 4144992, at *3 (C.D. Cal. Sept. 14, 2007). 9 Redbubble also
    18 cannot divorce itself from its software, claiming the software does the infringing on
    19
    20 liable in Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93, 103 (2d Cir. 2010), because it
    21 used Tiffany’s mark to describe “genuine Tiffany goods offered for sale on its
       website”; here, Redbubble does not offer genuine Brandy Melville goods. (SUF
    22 ¶ 214.) And Milo & Gabby, LLC v. Amazon.com, Inc., No. 13-cv-1932, 2015 WL
    23 4394673, at *12 (W.D. Wash. July 16, 2015), turned on the lack of “evidence of a
       valid, enforceable mark entitled to protection”; here, Redbubble does not challenge
    24 the protectability of Brandy Melville’s trademarks. (Mot. at 9-13 (arguing “use”).)
    25 9 See also El Greco Leather Prods. Co. v. Shoe World, Inc., 806 F.2d 392, 396 (2d
       Cir. 1986) (“Even though Shoe World was involved neither in the manufacture nor
    26
       the affixing of the CANDIE’S trademark to the shoes, its sale of the shoes was
    27 sufficient ‘use’ for it to be liable for the results of such infringement . . . .”); C & L
       Intern. Trading Inc. v. Am. Tibetan Health Institute, Inc., No. 13-cv-2638, 2015 WL
    28
       1849863, at *5 (S.D.N.Y. Apr. 22, 2015).
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     1 “measure every single step of the experience” so that Redbubble can “take action in
     2 the field whether it’s with a better carrier or better printing partners.” (SUF ¶ 88; SDF
     3 ¶ 67.) Redbubble even has “our quality manager physically visit every single fulfiller
     4 and perform quality controls at the location of printing to make sure . . . the printing
     5 performs to our expectations.” (SUF ¶ 89.) At bottom, Redbubble makes “sure that
     6 all Redbubble products fit to the Redbubble standard.” (Id. ¶ 85.) Redbubble’s
     7 control is no secret: the products are packaged and delivered to customers in
     8 Redbubble-branded materials, and any returns of the products go to Redbubble. (Id.
     9 ¶¶ 74-76, 91, 93-95.)
    10                    2.    Ohio State Does Not Advance Redbubble’s Case.
    11               Redbubble claims that it “recently prevailed on summary judgment on a
    12 virtually identical direct infringement claim” in The Ohio State Univ. v. Redbubble,
    13 Inc., 369 F. Supp. 3d 840 (S.D. Ohio 2019). (Mot. at 12.) Not so. In Ohio State, a
    14 public university claimed trademark rights in the university’s name and images and
    15 asserted claims of direct trademark infringement against Redbubble. 369 F. Supp. 3d
    16 at 841-42. The plaintiff moved for summary judgment, “admittedly very early” and
    17 without taking any depositions (SUF ¶ 215), arguing Redbubble used the trademarks
    18 by selling infringing products: the plaintiff did not advance claims—as Brandy
    19 Melville has here—for counterfeiting arising out of solicitation, offering for sale, and
    20 advertising (see Dkt. No. 36 at 9-12). Cf. 369 F. Supp. 3d at 845 (“Redbubble
    21 contends that it does not use Ohio State’s trademarks . . . because it is not the ‘seller’
    22 of the goods.”). Nor did the Ohio State plaintiff raise contributory and vicarious
    23 infringement claims. See id. at 842. The district court held that, “on these facts” and
    24 under Sixth Circuit precedent, Redbubble was not a seller because, between being an
    25 auction house and a company that “manufacture[s] and ship[s] infringing products to
    26 the customer,” Redbubble was “closer” to an auction house. Id. at 845-46. The case
    27 is now on appeal to the Sixth Circuit. The Ohio State Univ. v. Redbubble Inc., No. 19-
    28 3388 (6th Cir.).
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     1               The Ohio State decision is not persuasive in this case. Putting aside the
     2 dispositive reality that the claims in the Ohio State case were different (and Redbubble
     3 conceded liability on the contributory liability claim that Brandy Melville asserts here
     4 (SUF ¶ 224)), the district court evaluated only one form of “use” under the Lanham
     5 Act and did not evaluate the several other forms that Brandy Melville has proved in
     6 this case. (Id. ¶ 216.) See also 369 F. Supp. 2d at 845. Also, the district court’s
     7 decision was made on an incomplete record. See id. (SUF ¶¶ 215-218.) In fact, the
     8 record was so deficient that Redbubble’s counsel had to rely on facts outside the
     9 record to make his oral argument before the Sixth Circuit. (SUF ¶ 217; see also id.
    10 ¶ 218 (“The factual record was incomplete” with respect to “whether Redbubble acted
    11 as a ‘seller’” and “the degree to which Redbubble advertises or encourages advertising
    12 of the allegedly infringing products.”) Here, there is evidence that, inter alia,
    13 Redbubble is the principal of and partners with its fulfillers, is the “principal in the
    14 sale,” and “controls a substantial part of the process and is construed to be the party
    15 primarily responsible for satisfying the performance obligation.” (Id. ¶¶ 82-89, 114-
    16 118; SDF ¶ 6.) In other words, this Court has the evidence that the Sixth Circuit panel
    17 found lacking.13
    18                     3.    Because Redbubble Is a Counterfeiter, Statutory Damages
    19                           are Available.
    20               Redbubble claims that “Brandy Melville cannot establish the elements of
    21 trademark counterfeiting” (Mot. at 16), but this, too, is incorrect.14
    22               First, even without a showing of willfulness, statutory damages are available
    23 for each counterfeit mark “per type of goods or services sold, offered for sale, or
    24 distributed[.]” 15 U.S.C. § 1117(c)(1). Willfulness simply increases the amount of
    25
         13
          Another court that actually had evidence—e.g., testimony from Redbubble—about
    26
       the details of Redbubble’s business held unequivocally that Redbubble is as directly
    27 involved in the sale of Redbubble products as one could imagine. (SUF ¶ 130.)
       14
           Redbubble’s meritless claim that Plaintiff did not comply with its discovery
    28
       obligations (Mot. at 16 n.4) will be appropriately briefed in motions in limine.
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     1 statutory damages that may be awarded. It is not required to receive such damages.
     2               Second, Redbubble is incorrect that it did not engage in counterfeiting of the
     3 types of products for which Brandy Melville’s marks are registered. Redbubble’s
     4 Motion only discusses products Redbubble sold that bear the Brandy Melville Mark,
     5 LA Lighting Mark, and Brandy Flag Mark. It lacks mention of products Redbubble
     6 offered for sale.          (See Mot. 16-20.)    And for good reason:     Redbubble’s own
     7 documents—which they never produced in this litigation (SUF ¶ 219)—leave no
     8 doubt that Redbubble offered to sell several counterfeit products bearing the Brandy
     9 Melville Mark, LA Lighting Mark, and Brandy Flag Mark. For example, Plaintiff
    10 registered the LA Lightning Mark on May 14, 2019, and Redbubble offered for sale
    11 counterfeit “T-shirts, tank tops or sweatshirts” bearing the LA Lightning Mark on
    12 November 16, 2019. (Id. ¶¶ 26, 159-161, 220; see also SDF ¶ 7.) Brandy Melville
    13 also places the Brandy Melville Mark—which was registered on July 11, 2017 and
    14 protects clothing—on its apparel, and the record confirms that Redbubble offered for
    15 sale counterfeit clothing bearing the mark on, inter alia, April 28, 2020. (SUF ¶¶ 24,
    16 221.) Redbubble also offered to counterfeit signs and other pieces of furniture and
    17 home goods bearing the Brandy Melville Mark. (Id. ¶¶ 32, 160, 162.) And Redbubble
    18 concedes that, after the Brandy Flag Mark was registered on January 9, 2018,
    19 Redbubble offered for sale goods bearing the mark. (Id. ¶¶ 203, 222; SDF ¶ 64.)
    20               Finally, contrary to Redbubble’s averments, the question of whether Brandy
    21 Melville is entitled to more substantial statutory and treble damages (15 U.S.C.
    22 § 1117(b), (c)(2)) is also a triable issue. Even “‘[w]illful blindness”—which is less
    23 than what Redbubble has engaged in here—”is equivalent to actual knowledge for
    24 purposes of the Lanham Act” and results in liability for statutory and treble damages.
    25 Tiffany, 600 F.3d at 109-10 (quoting Hard Rock Café Licensing Corp. v. Concession
    26 Servs., Inc., 955 F.2d 1143, 1149 (7th Cir. 1992)); see also Levi Strauss & Co. v. Diaz,
    27 778 F. Supp. 1206, 1208 (S.D. Fla. 1991) (“Willful blindness is knowledge enough”
    28 and “renders [defendant] liable for treble damages and attorneys’ fees.”); Symantec
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     1 162.) Without Redbubble, there would be no infringing product and no wrongful
     2 advertising. In fact, Redbubble has advertised, offered for sale, and counterfeits of
     3 the LA Lighting Mark, as recently as April 2020. (Id. ¶¶ 160-161, 202; SDF ¶ 7.)
     4 Redbubble cannot be granted summary judgment on this record.
     5               C.    Redbubble Is Liable For Vicarious Infringement.
     6               As detailed in Plaintiff’s own pending motion, Redbubble is liable for vicarious
     7 trademark infringement. (Dkt. No. 36 at 19-20.) Redbubble and its fulfillers “‘have
     8 an apparent or actual partnership, have authority to bind one another in transactions
     9 with third parties or exercise joint ownership or control over the infringing product.’”
    10 Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 807-08 (9th Cir. 2007). Three
    11 independent reasons warrant denying Redbubble’s Motion.
    12               First, Redbubble partners with the fulfillers who create the infringing products
    13 purchased on Redbubble’s website—”It’s actually really important for us to have a
    14 global network of fulfillers. These are companies that we partner with to produce
    15 our goods”—and Redbubble constantly reevaluates whether to select “better printing
    16 partners.” (SUF ¶¶ 82-89, 177 (emphasis added).) Redbubble also serves as their
    17 principal for each transaction, and it “is acting as a principal with respect to fulfillers
    18 as opposed to as an agent.” (Id. ¶¶ 114, 115, 117, 118; SDF ¶ 68.) Redbubble’s
    19 averment that “[t]here is no evidence that Redbubble is a partner with the third-party
    20 manufacturers” is baseless. (Mot. at 15.) Redbubble “work[s] really closely with [its]
    21 suppliers to make sure the product is suitable” and even sends its quality manager to
    22 “physically visit every single fulfiller and perform quality controls[.]” (SUF ¶¶ 83,
    23 89; SDF ¶ 68.) In addition, Redbubble sends orders placed on the Redbubble website
    24 directly to its fulfillers, answers any questions that fulfillers may have about orders,
    25 and splits the payment with fulfillers. (SUF ¶¶ 57, 70, 73.) This partnership is further
    26 publicized through the fulfiller’s use of Redbubble-themed tags and packaging for
    27 products purchased on the website. (Id. ¶¶ 74-76.) Cf. Louis Vuitton Malletier, S.A.
    28 v. Akanoc Sols., Inc., 591 F. Supp. 2d 1098, 1113 (C.D. Cal. 2008) (finding no
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     1 partnership where defendants “do not deal directly with those [w]ebsite operators, do
     2 not receive money from them, and have no connection to them whatsoever”).
     3               Second, Redbubble has the authority to bind its fulfillers in transactions with
     4 third-parties, or vice versa. Redbubble is the “principal with respect to fulfillers as
     5 opposed to as an agent,” and it acts as the user’s “agent specifically in relation to the
     6 sales transaction” of counterfeit designs and goods on the Redbubble website. (SUF
     7 ¶¶ 117, 178; SDF ¶ 4.) Redbubble and its partner fulfillers also share the proceeds of
     8 the sale from the same “Base Price” category. (SUF ¶¶ 49, 73.)
     9               Third, Redbubble cites no evidence whatsoever to support the conclusory
    10 statement that it “cannot be deemed to have the type of authority or joint control over
    11 any allegedly infringing products[.]” (Mot. 15.) This alone is fatal to the Motion.
    12 The record actually confirms Redbubble exercises substantial control over infringing
    13 products: the orders are made on Redbubble’s website, Redbubble sends the order
    14 information to its partner fulfillers to manufacture, and arranges for the infringing
    15 products to be delivered to customers. (E.g., SUF ¶¶ 39, 57, 61-62, 77; SDF ¶ 5.)
    16 Redbubble also works “really closely” with its suppliers “to design and develop” the
    17 infringing products and to ensure they “fit to the Redbubble standard.” (SUF 83-89.)
    18               D.    Brandy Melville’s Unfair Competition Claim Is Viable.
    19               Redbubble’s only other argument is that Brandy Melville’s unfair competition
    20 claim is not viable because it is barred by the Communications Decency Act (“CDA”),
    21 47 U.S.C. § 230(c)(1). (Mot. at 16.) This is not true because Brandy Melville’s claims
    22 are based on the manufacture and sale of infringing goods. The CDA preempts a state
    23 law claim that “inherently requires the court to treat the defendant as the ‘publisher or
    24 speaker’ of content provided by another.” Barnes v. Yahoo!, Inc., 570 F.3d 1096,
    25 1102 (9th Cir. 2009). But “[l]iability for sales of a product do not . . . fall under the
    26 province of the CDA because such claims do not treat the defendants ‘as the publisher
    27 or speaker’ of third-party information.” Parisi v. Sinclair, 774 F. Supp. 2d 310, 318
    28 n.3 (D.D.C. 2011). Where companies do more than just “provide[ ] the online
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     1 marketplace where third-parties [can] list and sell goods to customers” (e.g., they
     2 actually are “distributors” of the goods), they “cannot rely on CDA immunity as a
     3 defense to plaintiffs’ distributor-based claims.” Id.; see also Atari Interactive, Inc. v.
     4 SunFrog, LLC, No. 18-cv-4949, 2019 WL 3804462, at *2 (N.D. Cal. Aug. 13, 2019);
     5 accord also Fair Housing Council of San Fernando Valley v. Roommates.Com, LLC,
     6 521 F.3d 1157, 1169 (9th Cir. 2008) (one who is “directly involved in the alleged
     7 illegality” is not entitled to CDA immunity).
     8               The undisputed facts demonstrate Redbubble is not, as it claims, merely “an
     9 ‘interactive computer service.’” (Mot. at 16.) Redbubble is “the principal in the sale”
    10 of products purchased on the Redbubble website. (SUF ¶¶ 114, 115; SDF ¶ 6.) It
    11 also is “the party primarily responsible for” the sale of counterfeit goods because it
    12 “controls a substantial part of the process.” (Id.) Indeed, once a purchase is made on
    13 Redbubble’s website, Redbubble decides which of Redbubble’s “agent” fulfillers to
    14 use.          (SUF ¶¶ 61, 64, 66, 68, 117.) Redbubble concedes that its fulfillers are
    15 “companies that we partner with to produce our goods” and that it “has a team of
    16 product developers whose job it is to make sure that all Redbubble products fit to the
    17 Redbubble standard.” (SUF ¶¶ 82-85.) These fulfillers include Redbubble-branded
    18 hang tags, stickers, and packaging on the products sold on Redbubble’s website.
    19 (SUF ¶¶ 74-76; SDF ¶ 30.) Further, all communications between the user, customer,
    20 and fulfiller go through Redbubble, and Redbubble handles the payment and arranges
    21 for the products to be delivered to the customers. (SUF ¶¶ 53-60, 69-73, 78-80.) On
    22 this record, the CDA does not preempt the state law claim.
    23 IV.           CONCLUSION
    24               Accordingly, this Court should deny Defendant’s Motion in its entirety.
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